Case 1:19-cv-00742-LPS Document 11-2 Filed 05/06/19 Page 1 of 2 PageID #: 311




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 CIRBA INC. (d/b/a DENSIFY)                            Civil Action No. 1:19-cv-00742-LPS
 and CIRBA IP, INC.,

                          Plaintiffs,
                                                       JURY TRIAL DEMANDED
         v.

 VMWARE, INC.,

                          Defendant.


                         [PROPOSED] ORDER GRANTING
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Before the Court is Plaintiffs’ Motion for Preliminary Injunction. Upon consideration, the

Court has determined that Plaintiffs’ Motion for Preliminary Injunction is GRANTED. It is

therefore ORDERED that Defendant VMware, Inc. and its officers, directors, agents, servants,

employees, and attorneys, and other persons who are in active concert or participation with them,

shall be enjoined from making, using, selling, or offering for sale products that infringe U.S. Patent

No. 8,209,687, including without limitation, vRealize Operations (“vROps”) 7.0 and 7.5, until a

trial can be held on the merits.



       Executed this __ day of ________________, 2019.



                                               By___________________________________
                                                     Hon. Leonard P. Stark
                                                     United States District Chief Judge
Case 1:19-cv-00742-LPS Document 11-2 Filed 05/06/19 Page 2 of 2 PageID #: 312




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                       Defendant.



                               CERTIFICATE OF SERVICE

      I, Kenneth L. Dorsney, certify that on May 6, 2019, two copies of the attached document

were served upon VMware, Inc. by hand via VMware’s Registered Agent (c/o The Corporation

Trust Company, Corporation Trust Center, 1209 Orange St Wilmington, DE 19801).




                                                     /s/ Kenneth L. Dorsney
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                                                  ATTORNEYS FOR PLAINTIFFS
                                                  CIRBA INC. (D/B/A DENSIFY)
                                                  AND CIRBA IP, INC
